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                                                     U.S. Department of Justice

                                                     Channing D. Phillips
                                                     Acting United States Attorney

                                                     District of Columbia


                                                     Judiciary Center
                                                     555 Fourth St., N.W.
                                                     Washington, D.C. 20530


                                                   April 28, 2021

VIA USAFX and Email
Celia Goetzl, Esq.
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       Re:      United States v. Vital GossJankowski, 21-CR-123 (PLF)


Dear Counsel:

       Pursuant to our discovery obligations, I am writing to document previous discovery
provided as well as discovery that the government is providing with this letter:

   •   On February 9, 2021, the government provided a partial Facebook return via USAfx, as
       documented in the screenshot below.


   •   On March 31, 2021, the government provided via email a redacted copy of the search
       warrant return, which included a list of the items seized.

   •   On April 23, 2021, the government provided via USAfx, a copy of your client’s
       interview from 1/17/21, and a written summary of your client’s interview from 1/18/21,
       as shown in the screenshot below.




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   •   On April 28, 2021, the government is providing the following items via USAfx:
          o An annotated video that depicts some of your client’s relevant conduct in this case
          o 4 files of BWC camera and a table of contents
          o Video of your client’s interview from 1/18/21




(As with all files uploaded to USAfX, they may automatically delete after 60 days per the
automatic retention policy in place. Please download the files before then.)

        Note that all these files will be being formally processed for discovery by the discovery
team assigned to the Capitol Riots cases. As such, the same files will be re-produced with bates-
stamps at a later date. Nevertheless, we wanted to provide you what we can now as we wait for
this processing to be finalized.

Upcoming Discovery

       The government anticipates providing additional files related to this by the end of next
week. Like the files being provided in connection with this letter, all the files will be re-
disclosed once processed and bates-stamped by the discovery team.

        Additionally, once we have a protective order in place in this case, as I have previously
discussed with you, the government will be able to provide additional materials, subject to the
protective order.

        Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
anticipates that a large volume of materials may contain information relevant to this prosecution.
These materials may include, but are not limited to, surveillance video, statements of similarly
situated defendants, forensic searches of electronic devices and social media accounts of
similarly situated defendants, and citizen tips. The government is working to develop a system

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that will facilitate access to these materials. In the meantime, please let me know if there are any
categories of information that you believe are particularly relevant to your client.

       Please contact me if you have any issues accessing the information, and to confer
regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

         I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
government witnesses prior to trial and in compliance with the court’s trial management order.

        I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
or scientific tests or experiments, and any expert witness summaries. I also request that
defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
request that such material be provided on the same basis upon which the government will
provide defendant(s) with materials relating to government witnesses.

        Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
request that defendant(s) provide the government with the appropriate written notice if
defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
within the time period required by the Rules or allowed by the Court for the filing of any pretrial
motions.

        I will forward additional discovery as it becomes available. If you have any questions,
please feel free to contact me.

                                       /s/ Cara Gardner
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